Case 2:04-cr-20247-SH|\/| Document 41 Filed 06/16/05 Page 1 of 2 Page|D 51

IN THE UNITED sTATES DISTRICT CoURT FHED ‘3"&1£?~0‘9~
FoR THE wEsTERN DISTRICT oF TENNESSEE `
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UNITED STATES OI:"' AMERICA, W'G- {\.);: TM. MEMPH§S

VS. NO. 04-20247-Ma
MARCUS MCKINNIE,

Defendant.

 

ORDER RESETTING SENTENCING DA'I‘E

 

Before the court is the defendant's June 16, 2005, motion to
reset the sentencing of Marcus McKinnie, Which is presently set
for June l?, 2005. For good cause shown, the motion is granted.
The sentencing of defendant Marcus McKinnie is reset to Friday,
June 24, 2005, at 11:00 a.m.

L.MB
It is so ORDERED this ' ay of June, 2005.

P J/»/WL_`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITD sATES ISTRIC COURT - ESTERN DISITRCT OF TENNESSEE

 

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This notice confirms a copy of the document docketed as number 41 in
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Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

